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uNlTEo sTATEs oi= AMERch, W~D. O~tr m presents

P|aintiff,

VS.
CR. NO. 05-20186-B

EARNEST |V||TCHELL,

Defendant.

 

oRDER oN coNTlNuANcE AND sPEciFYlNG PERloD oF E><cLuDABLE DELAY
AND SET|_NQ

 

This cause came on for a report date on |V|ay 31, 2005. At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 With a
report date of Mondav. Ju|v 25. 2005, at 9:30 a.m., in Courtroom 1. 11th F|oor of the
Federa| Building, Memphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. §3161(h)(8)(B)(iv)becausethe ends ofjustice served in allowing for additional time

to prepare outweigh the need for a s eedy tria|.
|T |S SO ORDERED this 4 day une, 2005.

J o `rEIIBREEN
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UNITED S`TATE DISTRIC COURT - WESTER D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CR-20186 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

